IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW HAMPSHIRE

Plaintiff

Lorettann Gascard, Pro Se
348 Rte. 202

Rindge NH 03461

(603) 899-5405

VS.

Defendants
Franklin Pierce University, et al

Dr. Kim Mooney,
Franklin Pierce University

Dr. Kerry McKeever
Franklin Pierce University

Dr. Paul Kotila,
Franklin Pierce University

Ms. Janette Merideth,
Franklin Pierce University

COMPLAINT

DEMAND FOR JURY

 
PARTIES, JURISDICTION AND VENUE

. The plaintiff, Lorettann Gascard, resides at 348 Route 202, Rindge, New Hampshire, and
is 66 years old.

. The defendant, Franklin Pierce University, is a New Hampshire corporation, having its
principal office and place of business at 40 University Drive, Rindge, New Hampshire.
The defendant is engaged in business as a University.

. The defendant, Dr. Kim Mooney, is Provost of Franklin Pierce University at 40
University Drive, Rindge, New Hampshire.

. The defendant, Dr. Kerry McKeever, is Dean of the College at 40 University Drive,
Rindge, New Hampshire.

. The defendant, Dr. Paul Kotila, Former Dean of the College at Rindge, (Presently
Professor of Natural Sciences at 4 University Drive, Rindge, New Hampshire.

. The defendant, Ms. Janette Merideth, is Director of Human Resources of Franklin Pierce
University at 40 University Drive, Rindge, New Hampshire.

. Jurisdiction of this Court is invoked pursuant to 28 U.S.C.A. §§ 451, 1331, 1337, 1343,

 

and 1345. This action is authorized and instituted pursuant to Section 107(a) of the
Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C.A. § 12117(a), which
incorporates by reference Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act
of 1964 ("Title VII"), 42 U.S.C.A. §§ 2000e-5 (£)(1) and (3), and pursuant to Section 102
of the Civil Rights Act of 1991, 42 U.S.C.A. § 1981(A).

. Jurisdiction of this Court is invoked under Section 7(b) of the Age Discrimination in

Employment Act (ADEA), 29 U.S.C.A. § 626(b), and Section 16(b) of the Fair Labor
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12.

Standards Act, 29 U.S.C.A. § 216(b), FMLA 29 U.S.C. § 2614(1)(A)-(B); 29 U.S.C. §
2615(a)(2). This Court has jurisdiction under Section 7(b) of the ADEA, 28 U.S.C.A. §

1337, and 29 U.S.C.A. § 626(b).

Jurisdiction is based on Title VII of the Civil Rights Act of 1964, 42 U.S.C.A. § 2000e-
16 (1964). On February 13, 2013, Lorettann Gascard filed a complaint of discrimination
based on disability against the Franklin Pierce University and the above-named
supervisors with the Equal Employment Opportunity Commission ("EEOC") of the
Franklin Pierce University. On May 8, 2013, Lorettann Gascard amended her complaint
of discrimination against the Franklin Pierce University and the above-named supervisors
with the Equal Employment Opportunity Commission ("EEOC") of the Franklin Pierce
University to include discrimination based on age, sex and retaliation. A Notice of Right
to Sue (issued on request) was released by the EEOC on February 24, 2014. She is
therefore exercising her rights under the statute to file suit in federal district court. 42
US.C.A. § 2000e-16.

At all times relevant to this Complaint, the defendant was engaged in an industry
affecting commerce as defined in Section 11(h) of the ADEA, 29 U.S.C.A. § 630(h).

At all times since 1962, the defendant has employed 20 or more employees for each
working day in each of 20 or more calendar weeks in the preceding calendar year. The
defendant was and is, therefore, an employer within the meaning of Section 11(b) of the
ADEA, 29 U.S.C.A. § 630(b).

Venue is proper in this district because employment records relevant to this action are
located at the Franklin Pierce University’s principal place of business in Rindge, New

Hampshire, and because the defendant's failure to stop the unlawful age, gender and
disability discrimination subjected Lorettann Gascard and others to a hostile work
environment. 42 U.S.C.A. § 2000e-5(f)(3).
13. The employment practices hereafter alleged to be unlawful were and are now being

committed in the State of New Hampshire.

COUNT I.

14. The allegations of paragraphs 1 through 13 of this Complaint are incorporated by reference
into this paragraph 14.

15. On February 13, 2013, the plaintiff filed a charge ("Charge") with the Equal Employment
Opportunity Commission ("EEOC") charging the defendant with discriminating against
the plaintiff on the basis of disability.

16.On May 8, 2013, the plaintiff amended the charges ("Charges") with the Equal
Employment Opportunity Commission ("EEOC") charging the defendant with
discriminating against the plaintiff on the basis of age, sex, retaliation and disability.

17. The plaintiff is informed and believes that the EEOC sent a notice of the Charge to the
defendant and that the defendant received the notice.

18. More than 60 days have elapsed since the plaintiff filed the Charge.

19. The EEOC, the plaintiff, and a representative of the defendant participated in conciliation
of the Charge without reaching agreement.

20. The EEOC has not filed suit concerning the matters described in the Charge.

21. A Notice of Right to Sue (issued on request) was released by the EEOC on February 24,

2014.
22. The plaintiff originally requested accommodations under the Americans with Disabilities
Act in March 2012 and August 2012.

23. On December 3, 2012, the plaintiff, furnished the Chair of the Visual and Performing Arts
Division, Phyllis Zrzavy (the plaintiff's immediate supervisor) with her physician’s note,
dated November 11, 2012, stating that because of stress related factors she (the physician)
“must restrict her (the plaintiff) from meeting attendance, assemblies:” This was passed on
to the Human Resources Department.

24, The accommodation granted the plaintiff by the defendant and its agents was limited to
“leave meetings if she feel(s) symptoms of situational stress.”

25. This accommodation was found precarious by the plaintiffs physician as this did not
prevent the onset of stress conditions.

26. On April 2, 2013, the Plaintiff became unconscious during class due to, according to her
physician, situational stress which exacerbated her disability.

27. HRD’s response was to direct the Plaintiff to inform her immediate supervisor should
such and episode reoccur.

28. The Plaintiff had indeed informed her supervisor at the next possible opportunity.

29. The episode occurred in the evening, the supervisor was informed the following morning.

30. The accommodation offered the plaintiff is discriminatory and unequal.

31. Blanket accommodation waivers have been granted to colleagues: Sarah D’ Angelantonio,
William Jenisch and Nathan Cervos, regarding the attendance of meetings.

32. On January 16, 2013, the plaintiff informed the Dean, Dr. Kerry McKeever, (henceforth
“Dean”) and Janette Merideth, Human Resource Director (henceforth “HRD”) of cases of

accommodations regarding meetings attendance.
33. The defendant and its agents have not offered adequate accommodations.

34. The defendant, Dean and HRD were informed of the physician’s warning.

35. The defendant, Dean and HRD have continued to ignore the physician’s warning.

36. Violating the plaintiffs right to confidentiality of medical information, the plaintiff's
medical information, including the physicians note was disseminated to History
professor/Union officer, Douglas Ley, without plaintiff's permission.

37. Douglas Ley stated to the defendant’s agent, Dean, that he did not consider the issue
within the purview of the RFF/local chapter of the AFT.

38. Douglas Ley stated to the plaintiff that he did not consider the issue within the purview of
the Rindge Faculty Federation/local chapter of the American Federation of Teachers that
is not within his purview as a union officer.

39. On March 21, 2013, the plaintiff brought to the attention of the defendant, the Dean and
HRD that bullying during departmental meetings as a central cause of situational stress
during meetings to the Dean and HRD.

40. The Dean off-handedly replied that in the defendant’s judgment, body language and
mimicry do not constitute bullying.

41. Accommodation of teleconferencing, in which plaintiff calls in to the meeting has led to
heightened bullying—reported to plaintiff by colleagues who are present at meetings.

42. The heightened bullying and its damaging effects on the plaintiff have been reported
HRD and the Dean.

43. Hostile behavior during faculty meetings has been recorded in the minutes of the Faculty

Meetings.
44. The plaintiff was placed on a short term disability leave from September 13, 2011
through December 26, 2011 due to situational stress.

45. Between December 26, 2011 and January 20, 2012, the plaintiff visited a
studio/classroom she was scheduled to teach in during the spring semester.

46. Upon inspection, the plaintiff was dismayed to find that essential equipment had been
removed,

47. Following numerous enquires the plaintiff learned through witnesses that the equipment
had been disposed of by a male colleague, Nathan Sullivan, who had commenced
employment in 2010.

48. In service to the University, the plaintiff teaches 15 students in the studio/classroom in
question: The colleague who disposed of the equipment allows only 12 students in his
class.

49. The plaintiff reported both the absence of the equipment and the hardship and heightened
stress that the disposal of this equipment would cause her and her students.

50. When the Division Chair, Dr. Phyllis Zrzavy, reported the plaintiff's concerns that
needed equipment was disposed of during her transition from disability leave to active
employment, the Dr. Paul Kotila, the Former Dean (henceforth, “Kotila”) became
agitated and dismissive of the complaint.

51. The absence of this equipment has continued to cause serious inconvenience, hardship,
stress and even injury to the plaintiff.

52. Kotila acted with disregard for the plaintiff's disability.

53. In October 2012 the plaintiff applied for and was denied the position of Fine Arts

department coordinator.
54. The plaintiff has been employed by the defendant since 1997.

55. The plaintiff is the senior member of the department and completely qualified for this
position.

56. The Dean granted the position to a less experienced employee.

57. This decision impacted the plaintiff's work record causing additional stress.

58. In the May 20, 2013 review of the plaintiff's employment performance, the plaintiff's
requirement for “more service to the University is pointedly indicated.”

59. In February 2013, the plaintiff was the sole volunteer to offer her services to a committee
of long trusted colleagues.

60. The plaintiff was expressly and without discussion denied this position due to her

disability.

COUNT II

61. The allegations of paragraphs 1 through 60 of this Complaint are incorporated by
reference into this paragraph 61.

62. On February 13, 2013, the plaintiff filed a charge ("Charge") with the Equal Employment
Opportunity Commission ("EEOC") charging the defendant with discriminating against
the plaintiff on the basis of disability.

63. On May 8, 2013, the plaintiff amended the charges ("Charges") with the Equal
Employment Opportunity Commission ("EEOC") charging the defendant with

discriminating against the plaintiff on the basis of age, sex, retaliation and disability.
64. In October 2012 the plaintiff applied for and was denied the position of Fine Arts
department coordinator.

65. The plaintiff is the senior member of the department and completely qualified for this
position.

66. The position was granted to a male colleague Nathan Sullivan, born in 1978 is under
forty (40) years of age, whose employment at the University commenced in 2010.

67. The plaintiff's employment commenced 1997.

68. In the May 20, 2013 at a review of the plaintiff's employment performance, the plaintiff's
requirement for “more service to the University” is pointedly indicated.

69. In 2011, the plaintiff was harshly reprimanded for asking a student to clean up after
himself.

70. The student in question accused the plaintiff's son, who is unassociated with the
University, of racial harassment.

71. A highly accusatory memo was placed in the plaintiff's personal file by Kotila.

72, On January 28, 2014, Nathan Sullivan, defamed the University by spewing profanities to
a classroom of students.

73. The employee subsequently told students to take whatever materials and equipment they
wanted.

74. The Dean was informed of the incident by Facilities Director, Douglas Lear.

75. A student witness informed the Dean concerning the incident.

76. The Dean acknowledged the incident.

77. The defendant, the Dean, and HRD were informed that the plaintiff's property was taken.
78. The defendant, the Dean, and HRD ignored knowledge of the employee’s actions that
precipitated the theft even after being informed which colleague precipitated the theft and
loss to the plaintiff.

79. The defendant and its agents have acted to protect Nathan Sullivan, and closed its
investigation on April 10, 2014.

80. The Dean referred the plaintiff to Campus Safety for an investigation.

81. The defendant and its agents did not share essential information which it possessed with
the Director of Campus Safety, Maureen Sturgis.

82. The treatment of Nathan Sullivan who urges students to steal University property is in
stark contrast to the treatment of the plaintiff who asks a student to clean an area of the
gym he has left dirty.

83. When on March 27, 2013 the plaintiff identified to the defendant, the Dean and HRD that
bullying manifested in mimicry and body language by Nathan Sullivan is a central cause
of situational stress during departmental meetings, the defendant off-handedly replied
that in the defendant’s judgment, body language and mimicry do not constitute bullying.

84. The harsh reprimand in the Kotila 2011 memo states that the plaintiff would face
termination for the very behavior that the defendant and its agents have permitted the
employee born 1978.

85. The plaintiff has expressly and without discussion been discriminated against due to her

age.

COUNT III

10
86. The allegations of paragraphs 1 through 85 of this Complaint are incorporated by reference
into this paragraph 86.

87. On February 13, 2013, the plaintiff filed a charge ("Charge") with the Equal Employment
Opportunity Commission ("EEOC") charging the defendant with discriminating against
the plaintiff on the basis of disability.

88. On May 8, 2013, the plaintiff amended the charges ("Charges") with the Equal
Employment Opportunity Commission ("EEOC") charging the defendant with
discriminating against the plaintiff on the basis of age, sex, retaliation and disability.

89. In February 2013, the plaintiff was the sole volunteer, offering her services to a committee
consisting of non-hostile colleagues.

90. This position was granted to a male colleague who had not volunteered.

91. In the May 20, 2013 review of the plaintiff's employment performance, the plaintiffs
requirement for “more service to the University is pointedly indicated.”

92. The Dean justified her decision to deny the plaintiff the committee position with the
explanation that the male employee needed more committee work.

93. On March 21, 2013, the plaintiff brought to the attention of the defendant that bullying by
MC of the department, during departmental meetings as a central cause of situational
stress during meetings to the Dean and HRD.

94, The Dean off-handedly replied that in the defendant’s judgment, body language and
mimicry do not constitute bullying.

95. When present at departmental meetings, the Dean witnessed the bullying behavior on the
part of this male employee and allowed it and its continuance.

96. The plaintiff was expressly and without discussion denied this position due to her gender.

11
COUNT IV

97. The allegations of paragraphs 1 through 96 of this Complaint are incorporated by
reference into this paragraph 97.

98. On January 16, 2013, the plaintiff presented a thorough explanation of her disability to
the Dean and HRD, including graphic medical images.

99. At the very latest, on January 16, 2013, the University was completely made aware of the
plaintiff's disability.

100. The accommodation granted the plaintiff to “leave meetings if she feel(s)
symptoms of situational stress,” was found precarious by the plaintiff's physician.

101. The defendant challenged the plaintiff's objection regarding the precarious nature
of this accommodation, ignoring the accommodation’s putting the plaintiff in harm’s
way.

102. On April 2, 2013, the Plaintiff became unconscious during class due to, according
to her physician, situational stress which exacerbated her disability.

103. HRD’s response was to direct the Plaintiff to inform her immediate supervisor

should such and episode reoccur.

104. The Plaintiff had indeed informed her supervisor at the next possible opportunity.
105. The episode occurred in the evening, the supervisor was informed the following
morning.

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106. The defendant ignored the physician’s warning regarding the lack of safety of this
accommodation.

107. The defendant rather cavalierly countered by citing the protection of their
insurance policies.

108. By contrast, an employee, who received a waiver to not attend meetings, is given
assistance and transportation to and from certain workshops and assemblies.

109. On March 27, 2013, the plaintiff identified that bullying manifested in mimicry
and body language by Nathan Sullivan as a central cause of situational stress during
departmental meetings.

110. The Dean off-handedly replied that in the defendant’s judgment, body language
does not constitute bullying and would take no steps to remedy this situation.

111. Remarkably, Nathan Sullivan was appointed to the President’s task force to
promote civil behavior.

112. In a further violation of confidentiality and after the plaintiff had charged the
defendant through the EEOC with this violation, the defendant disseminated personal and
sensitive material to a colleague in its position statement to the colleague’s EEOC charge.

113. The materials consisted of an arbitration ruling involving action against the
Plaintiff, and her family, completely unrelated to the colleague’s charge.

114. Following the amendment of the plaintiff's EEOC charge on May 8, 2013, to
include retaliation, sex (gender) and age, the defendant escalated its harassment.

115, The plaintiff has been the University’s sole art historian since 1997.

116. Without her knowledge, and without consulting her, the defendant assigned an art

history course to unqualified faculty.

13
117. The plaintiff has acted as Director of the University’s art gallery since 1998.

118. The plaintiff has consistently received the highest accolades for her performance
in this capacity.

119. In an executive summary of the program review of the plaintiff department, the
Dean mandated that the plaintiff produce more “showings” (art exhibitions in the
gallery).

120. The Dean’s executive summary of the program review was distributed within four
months of the plaintiff amendment of her EEOC charge.

121. Prior to the University received the plaintiff’s amended EEOC charge, the Dean
had assessed the plaintiff's performance as Gallery Director laudably.

122. The “Provost” has embarked on repeated harassment with unwarranted demands
that the plaintiff attend to tasks that were already completed.

123. This harassment commenced in September 2013: The harassment commenced
regarding the first exhibition following the amendment of the plaintiff EEOC charge.
124. As a direct and proximate result of Defendants’ unlawful and intentional conduct,
Plaintiff has suffered and continues to suffer serious emotional distress, humiliation,
anguish, emotional and physical injuries, all to her damage in amounts to be proven at

trial.

COUNT V

125. The allegations of paragraphs 1 through 124 of this Complaint are incorporated by

reference into this paragraph 125.

14
126. The accommodation granted the plaintiff to “leave meetings if she feel(s)
symptoms of situational stress,” was found precarious by the plaintiff's physician.

127. The defendant challenged the plaintiff's objection regarding the precarious nature
of this accommodation, ignoring the accommodation’s putting the plaintiff in harm’s
way.

128. On April 2, 2013, the Plaintiff became unconscious during class due to, according
to her physician, situational stress which exacerbated her disability.

129. HRD’s response was to direct the Plaintiff to inform her immediate supervisor

should such and episode reoccur.

130. The Plaintiff had indeed informed her supervisor at the next possible opportunity.

131. The episode occurred in the evening, the supervisor was informed the following
morning.

132. The defendant ignored the physicians warning regarding the lack of safety of this
accommodation.

133. The defendant rather countered by citing the protection of their insurance policies.

134, By contrast, an employee, who received a waiver to not attend meetings, is given

assistance and transportation to and from certain workshops and assemblies.

135. On March 27, 2013, the plaintiff identified that bullying manifested in mimicry
and body language by a male employee as a central cause of situational stress during
departmental meetings.

136. The Dean off-handedly replied that in the defendant’s judgment, body language

does not constitute bullying and would take no steps to remedy this situation.

15
137. Remarkably, the employee was appointment to the President’s task force to
promote civil behavior.

138. In a further violation of confidentiality and after the plaintiff had charged the
defendant through the EEOC with this violation, the defendant disseminated personal and
sensitive material to a colleague in its position statement to the colleague’s EEOC charge.

139, The materials consisted of an arbitration ruling involving action against me, and
my family, completely unrelated to the colleague’s charge.

140. Following the amendment of the plaintiff's EEOC charge on May 8, 2013, to
include retaliation, sex (gender) and age, the defendant escalated its harassment.

141. The plaintiff has been the University’s sole art historian since 1997.

142. Without her knowledge, and without consulting her, the defendant assigned and

an art history course to unqualified faculty.

143. The plaintiff has acted as Director of the University’s art gallery since 1998.

144. The plaintiff has consistently received the highest accolades for her performance
in this capacity.

145. In an executive summary of the program review of the plaintiff department, the

Dean mandated that the plaintiff produce more “showings” (art exhibitions in the
gallery).

146. The Dean’s executive summary of the program review was distributed within four
months of the plaintiff amendment of her EEOC charge.

147. Before the University received the plaintiff's amended EEOC charge, the Dean

had assessed the plaintiff's performance as Gallery Director laudably.

16
148. Provost, Dr. Kim Mooney (henceforth, “Provost”) has embarked on repeated
harassment with unwarranted demands that the plaintiff attend to tasks that were already
completed.

149. Such harassment commenced in September 2013: The harassment commenced
regarding the first exhibition following the amendment of the plaintiff EEOC charge.
150. As a direct and proximate result of Defendants’ unlawful conduct and negligence,

Plaintiff has suffered and continues to suffer serious emotional distress, humiliation,
anguish, emotional and exacerbation of her disabilities, ,all to her damage in amounts to

be proven at trial.

COUNT VI

151. The allegations of paragraphs 1 through 150 of this Complaint are incorporated by
reference into this paragraph 151.

152. Each Defendant had the authority to supervise, prohibit, control, and/or regulate
the other Defendants and supervisees so as to prevent these acts and omissions from
occurring.

153. Each Defendant knew, had been directly informed and reasonably should have
known that unless they intervened to protect plaintiff and properly to supervise, prohibit,
control, and/or regulate the conduct of the other Defendants, those Defendants would
perceive their acts and omissions as being ratified and condoned.

154. Each Defendant failed to exercise due care by failing to supervise, prohibit,
control, or regulate the remaining Defendants and supervisees and/or by failing to protect

plaintiff.

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155. As a direct and proximate result of Defendants’ acts and omissions, Plaintiff has
suffered and continued to suffer injuries entitling her to damages in an amount to be

determined at trial.

Jurisdiction of this Court is invoked pursuant to FMLA 29 U.S.C. § 2614(1)(A)-(B); 29

U.S.C. § 2615(a\(2); Supplemental jurisdiction for N.H. State Law 28 U.S.C. § 1367

COUNT VII

156. Plaintiff was approved a leave under FMLA from October 22 - December 18, 2014
based on her serious health condition.

157. Plaintiff submitted a return to work authorization form to the Human Resource
office of Franklin Pierce University on December 18", stating that she would return to work on
December 19, 2014. Plaintiff resumed her duties on December 19", conducting among other
things an inspection of the gallery space.

158. In an email dated December 215'to Dean McKeever, and colleagues Susan
Silverman and Nathan Sullivan, Plaintiff reported an issue of a possibly missing art work and
reiterated that she returned to work on December 19, 2014.

159. Along with attending to duties, including the gallery, beginning December 19" the
Plaintiff proceeded to accommodate the arrival of the newly appointed University’s president by
extending the closing of the then running exhibition.

160. On January 13, 2015, the Plaintiff communicated via email the schedule change to
colleagues whose students’ works were in the exhibition.

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161. Within 2 hours of the Plaintiff informing colleagues of the exhibition’s extension,
Plaintiff received word via email from Defendant, Dean McKeever, stating that the Plaintiff was
no longer coordinator of the art gallery since that duty now fell to a Fine Arts Faculty member,
Nathan Sullivan (male, under 40 years old) who was hired in 2010.

162. Nathan Sullivan, had been appointed as interim gallery coordinator only for the
duration of Plaintiff's spring semester 2015 sabbatical leave.

163. In Dean McKeever’s first email at 10:09 AM on January 13", she states that
Plaintiff is “not the coordinator of the gallery this semester. That duty falls to Nathan Sullivan,
who will determine all aspects of galle{r]y governance...”

164. Dean McKeever’s email of January 13, 2015 was the first word from Defendant
Dean McKeever that Plaintiff had been relieved from her position as gallery coordinator.

165. Plaintiff informed Dean McKeever at 11:09 AM on January 13" via email that as
per the University’s posted calendar, the spring semester, and therefore the Plaintiff's sabbatical
would not begin until January 19" 2015.

166. Dean McKeever’s reply ignored that upon return from FMLA leave Plaintiff had the
right and obligation to resume her position and wrote: “J have not relieved Professor Sullivan of
his responsibility for the gallery, which I gave him when you went on leave. He is still

responsible for ail gallery operations and will continue to be so until at least the end of your

 

sabbatical.” (Emphasis added by Plaintiff.)
167. Dean McKeever had stated to the Plaintiff in a June 30 2014 email that the decision
to continue the position of gallery coordination rested with the Plaintiff. See §192 for quoted

email.

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168. In less than fifteen minutes of the January 13, 2015 email exchange between the
Plaintiff and Dean McKeever, Dean McKeever followed-up with an email she sent to the entire
Fine Arts and Graphic Communications Departments at FPU. In this email she stated: “J wish to
clarify that Nathan Sullivan has not been relieved of his responsibilities for managing the FPU

gallery. This appointment is effective until at least the end of spring semester 2015. All

 

communication regarding the gallery should be directed to him...” (Emphasis added by
Plaintiff.)

169. By January 14th, the exhibition Plaintiff attempted to extend had been dismantled
and any rights due the Plaintiff to resume her position had been made physically impossible.

170. The Plaintiff has been scheduled for a research sabbatical beginning spring semester
(January 19" is listed as the commencement of spring semester 2014-2015) focusing on art
exhibition practice on college and university campuses and needed this access to the gallery to
prepare.

171. The Plaintiff has coordinated/directed Franklin Pierce University’s Art Gallery since
1998.

172. During her 1997 interview for the position at Franklin Pierce University, this duty
was announced to her by the then Dean, Dr. Richard Weeks and the members of the search
committee, as part of her assumed duties.

173. The Plaintiff receives salary and benefits for the gallery coordinator position. The
position entails one quarter (1/4) of her contracted duties. (See Articles 10.2.1 and 10.2.2 of the
Collective Bargaining Agreement.) As such she teaches 3 rather than 4 courses per semester

since her gallery duties equate to the load of a full course.

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174. On May 12, 2013, Dean McKeever, wrote the following in Plaintiff's five-year
performance review of the Plaintiff, praising the Plaintiff's work in the art gallery: “J wish to
commend especially your work with the gallery. Under sometimes challenging conditions you
have continued to provide the university's administrators, faculty, staff and students with well-
articulated experiences of the myriads of art...”

175. Following the summer recess in 2013, and after Plaintiff's amended EEOC
complaint, including gender, age discrimination and retaliation, Dean McKeever and Provost
Mooney initiated their barrage of extreme micro-management outlined in {J 176-179, 187-195
above.

176. In October 2013, Dr. Mooney launched both telephone and email inquiries regarding
announcements for a gallery exhibition. The announcements had already been sent to the FPU
community.

177. In a series of email from April 9-10, 2014, Dean McKeever voiced her
dissatisfaction with the announcement of Graphic Communications senior exhibition. When the
Plaintiff explained that a colleague had usurped the announcement task for pedagogical reasons,
and the colleague confirmed the truth of this, the micro-managing calmed for the time being.

178. In September 2013, Dean McKeever, distributed an executive summary of the Fine
Arts Department, calling for more exhibitions in the gallery.

179. On October 7, 2013, Plaintiff replied to the Dean’s directive with a carefully
prepared document comparing the resources and performance of equivalent galleries, which
proved that the Plaintiff produced more exhibitions with the least resources than any other

academic art gallery in the region.

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180. Upon receiving this objective report, the Dean tasked Plaintiff with conducting a
program review of the gallery in fall 2015 when Plaintiff would return from sabbatical leave.

181. The job description for gallery coordinator on file in the academic affairs office lists
under “expectations,” “to possess the ability to work on their own with little direct supervision.”

182. The Plaintiff had displayed this ability for over fifteen years.

183. This treatment by Defendant Dean McKeever increased in intensity 28 days after
Defendant Dean McKeever had been served a summons on June 2, 2014 for this present case.

184. On June 30, 2014, Dean McKeever initiates with a query regarding a summer
gallery schedule, because “someone had just told [her] that there will be gallery showings this
summer...”

185. As has been standard gallery practice, since 2009, a small exhibition had been
installed in the gallery in order to enhance the space during the summer as it is used be
administrators.

186. Plaintiff wrote, informing the Dean that the exhibition was officially announced both
online and with numerous posters throughout the campus.

187. Continuing this June 30, 2014 exchange, Dean McKeever changes topic, writing:
“This has been mentioned before, but please make sure that well in advance of notification to
Lisa Murray, I [Dean McKeever] expect a personal notice to go to Ron Hammond for the
President, and to the Provost, as well as myself about any openings.”

188. The campus-wide, online announcement (see (186) had been disseminated through
Lisa Murray’s office. (At that time, Office of Marketing and Communication)

189. Plaintiff had no knowledge of the requirement for personal notification, since it had

not been “mentioned” to her.

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190. Plaintiff requested a follow-up from Dean McKeever, informing Plaintiff when this
requirement had been “mentioned” before. Dean McKeever would never produce an answer.

191. In a fifth email in the June 30, 2014 exchange with the Plaintiff, Dean McKeever
conflates gallery procedure (agreed to be included in the fall 2015 program review) and the
gallery coordinator job description, (on file at the Dean’s Academic Affairs office and to be
revised in the program review).

192. Neglecting these distinctions and agreement, the Dean moves to the following
warning: “This last year, I specifically asked for documentation on [g]allery procedures.
Because you have not provided me with this documentation, I will consult with the Provost about
revisiting the job description requirements this summer [2014] and presenting them to you in the
fall.” “...you will have the opportunity to review it and accept or reject the position based on the
new protocol and job description.” (During fall semester 2013, Dean McKeever charged
Plaintiff with conducting a formal program review of the gallery in fall 2015 (including
formalizing gallery policies and revising the present gallery coordinator position description on
file in the Dean’s academic affairs office)).

193. Realizing the ever increasing convolutions created by Dean McKeever’s replies,
Plaintiff attempted to address Dean McKeever’s request for personal notification to senior staff
members by asking about the timeframe guidelines for notification.

194, In an effort to comply with Dean McKeever’s request for personal notification, on
October 15, 2014 the Plaintiff notified the Dean, Provost and President of an exhibition opening
on November 12, 2014.

195. This compliance was answered with the following from Dean McKeever:

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“I do hope that there is more work displayed than there was for the faculty show. It seemed a bit
bare in the space or perhaps there may have been a better use of the space that (sic.) overall. On
the other hand, I know that you limited the size and quantity or art from the faculty members,
and perhaps this needs to be adjusted in the future. I was also surprised that two such large
pieces were given to Sally.” “I thought that the space might have been used for more pieces by
the fine arts and graphics faculty rather than given to a member of the dance faculty.”

196. Dean McKeever’s assessment was based on fallacies regarding the submission
policy since four faculty had not offered any works at all and one offered only one work.

197. On December 3, 2012, Defendant Dean McKeever, received a note written by
Plaintiffs physician, indicating that due to aggravation of physical symptoms due to emotional
stress, Plaintiff be restricted from meeting attendance and assemblies.

198. Plaintiff requested an accommodation for her disability.

199. At a January 16, 2013 meeting to discuss the accommodation, Plaintiff showed Dean
McKeever a series images from an esophagram from May 23, 2012, graphically revealing that
Plaintiff suffers from paraesophageal hiatal hernia.

200. Dean McKeever has received information regarding the Plaintiff's medical
conditions, indicating her susceptibility to emotional distress since December 2012.

201. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered and continues to suffer serious emotional distress, humiliation, anguish, and an

exacerbation of her medical disabilities.

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SUPPLEMENTAL PRAYER FOR RELIEF
As a result of Dean McKeever’s retaliatory action to not restore Plaintiffs position as
gallery coordinator when Plaintiff returned to work from FMLA leave, Plaintiff seeks the
following relief: Written assurance to the Plaintiff that she will have the option of
resuming her position as gallery coordination, following her sabbatical; notification to all
faculty emailed by the Dean on January 13" correcting information concerning Nathan
Sullivan’s appointment as gallery coordinator; punitive and compensatory damages due
to ITED (Intentional Infliction of Emotional Distress) in an amount to be determined by

the court.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully prays that this Court:

A.

Order Defendants to award a monetary disbursement equivalent to the plaintiff's three
year rolling contract, including monetary compensation equivalent to Plaintiff's benefits
as outlined in the Collective Bargaining Agreement between the University and the
Rindge Faculty Federation;

Order Defendants to award retirement with the status of Professor Emeritus;

Order Defendants to remove the Memo of the February 1, 2011 from the Plaintiffs
personal, evaluative file; OR

Order Defendants to Redact all references to the Plaintiffs son in both the MEMO of
February 1, 2011 and the arbitration ruling of 2012; the Defendant’s agreement to the
Plaintiff permanently attaching a rebuttal and explanation to the Memo; the attachment of
letters extolling the Plaintiffs excellent service to the University, from all defendants
involved in the MEMO and the arbitration;

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E. Order Defendants to make whole the Plaintiff by providing compensation for expenses
and time lost due to the requirements of medical care in relation to situational stress
caused by the Defendant;

F. Order Defendants to make whole the Plaintiff by providing compensation for
nonpecuniary losses, including emotional pain, suffering, inconvenience, and mental
anguish in amounts to be proven at trial;

G. Grant such further relief as the Court deems necessary and proper; and

H. Grant the Plaintiff its costs in this action.

Date: Son 22) 2ol a Signature Jf. Oo Sh

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